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 From:            Padis, George (USATXN)
 To:              Daniel Galindo; Haag, Ann (USATXN); Ensign, Drew C (CIV)
 Cc:              Lee Gelernt; My Khanh Ngo - she/her/hers; External - Brian Klosterboer
 Subject:         Re: URGENT- A.A.R.P. v. Trump, 25-00059
 Date:            Thursday, April 17, 2025 6:41:26 PM



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   This message came from outside your organization.


 This is the information I have from my client about the current petitioners: “the named
 petitioners have not been served notice related to the Alien Enemies Act.”

 We are not in a position at this time to share information about unknown detainees who are
 not currently parties to the pending litigation.

 From: Daniel Galindo <dgalindo@aclu.org>
 Sent: Thursday, April 17, 2025 8:15 PM
 To: Padis, George (USATXN) <George.Padis@usdoj.gov>; Haag, Ann (USATXN)
 <Ann.Haag@usdoj.gov>; Ensign, Drew C (CIV) <Drew.C.Ensign@usdoj.gov>
 Cc: Lee Gelernt <LGELERNT@aclu.org>; My Khanh Ngo - she/her/hers <MNgo@aclu.org>;
 External - Brian Klosterboer <bklosterboer@aclutx.org>
 Subject: [EXTERNAL] Re: URGENT- A.A.R.P. v. Trump, 25-00059

 We are asking about putative class members receiving the notices. We ask to see the
 notice or form being used.

 From: Padis, George (USATXN) <George.Padis@usdoj.gov>
 Sent: Thursday, April 17, 2025 9:11 PM
 To: Daniel Galindo <dgalindo@aclu.org>; Haag, Ann (USATXN) <Ann.Haag@usdoj.gov>; Ensign, Drew
 C (CIV) <Drew.C.Ensign@usdoj.gov>
 Cc: Lee Gelernt <LGELERNT@aclu.org>; My Khanh Ngo - she/her/hers <MNgo@aclu.org>; External -
 Brian Klosterboer <bklosterboer@aclutx.org>
 Subject: Re: URGENT- A.A.R.P. v. Trump, 25-00059

 It is my understanding that neither named plaintiff is scheduled for removal at this time. We
 are waiting for more information responsive to your request.


 From: Padis, George (USATXN) <George.Padis@usdoj.gov>
 Sent: Thursday, April 17, 2025 7:36 PM
 To: Daniel Galindo <dgalindo@aclu.org>; Haag, Ann (USATXN) <Ann.Haag@usdoj.gov>;
 Ensign, Drew C (CIV) <Drew.C.Ensign@usdoj.gov>
 Cc: Lee Gelernt <LGELERNT@aclu.org>; My Khanh Ngo - she/her/hers <MNgo@aclu.org>;
 External - Brian Klosterboer <bklosterboer@aclutx.org>
 Subject: Re: URGENT- A.A.R.P. v. Trump, 25-00059
Case 1:25-cv-00059-H       Document 65-1        Filed 05/08/25      Page 2 of 3     PageID 548


 We have received this email and have contacted the appropriate officials to obtain the
 government’s response. Please stand by.


 From: Daniel Galindo <dgalindo@aclu.org>
 Sent: Thursday, April 17, 2025 7:23 PM
 To: Padis, George (USATXN) <George.Padis@usdoj.gov>; Haag, Ann (USATXN)
 <Ann.Haag@usdoj.gov>; Ensign, Drew C (CIV) <Drew.C.Ensign@usdoj.gov>
 Cc: Lee Gelernt <LGELERNT@aclu.org>; My Khanh Ngo - she/her/hers <MNgo@aclu.org>;
 External - Brian Klosterboer <bklosterboer@aclutx.org>
 Subject: [EXTERNAL] URGENT- A.A.R.P. v. Trump, 25-00059

 We are hearing from our clients that they are being asked to sign Alien Enemies Act
 notices. The notice does not say when the removal will occur and it only being provided
 in English, but guards are telling the men that they could be removed tonight or
 tomorrow morning.

 Please inform us immediately if this is accurate. We also intend to contact the judge
 immediately.



 From: Daniel Galindo
 Sent: Thursday, April 17, 2025 5:49 PM
 To: George.Padis@usdoj.gov; Ann.Haag@usdoj.gov; drew.c.ensign@usdoj.gov
 Cc: Lee Gelernt; My Khanh Ngo - she/her/hers; External - Brian Klosterboer
 Subject: *Timely* - A.A.R.P. v. Trump, 25-00059

 Dear Counsel,

 We are seeking to clarify whether the government’s representation to the Court with
 respect to the named plaintiffs, A.A.R.P. and W.M.M., applies to the other proposed
 class members detained in N.D. Tex.

 Is the government’s position that it does not presently expect to remove any proposed
 class members under the Alien Enemies Act until after the pending habeas class petition
 is resolved and, if that changes, it will update the Court?

 Please let us know if that is the government’s position by 6:30pm CT. If it is not the
 government’s position or we don’t receive a response by 6:30pm CT, we plan to contact
 the Court.
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 Thank you,

 Lee
